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ARTICLE IX
MISCELLANEOUS

Section 9.1 Force Majeure. In the event that the Service Provider is wholly
or partially prevented from, or delayed in, providing one or more Services, or one or more
Services are interrupted or suspended, by reason of events beyond its reasonable control including
without limitation acts of God, fire, explosion, accident, floods, embargoes, epidemics, war, acts
of terrorism, nuclear disaster or riot) (each, a “Force Majeure Event”), the Service Provider shall
not be obligated to deliver (or timely deliver, as applicable) the affected Services during such
period, and the Service Recipient shall not be obligated to pay for any Services not delivered.
Upon the occurrence of a Force Majeure Event, the Service Provider promptly shall give written
notice to the Service Recipient of the Force Majeure Event upon which it intends to rely to excuse
its performance and of the expected duration of such Force Majeure Event. The duties and
obligations of the Service Provider with regard to the Services hereunder that are directly affected
by such Force Majeure Event shall be tolled for the duration of the Force Majeure Event, but only
to the extent that the Force Majeure Event prevents the Service Provider from performing its
duties and obligations hereunder. During the duration of the Force Majeure Event, the Service
Provider shall use its commercially reasonable efforts to avoid or remove such Force Majeure
Event and shall use its commercially reasonable efforts to resume its performance under this
Agreement with the least practicable delay. From and during the occurrence of a Force Majeure
Event, the Service Recipient may replace the affected Services by providing such Services for
itself or engaging a third party to provide such Services at the Service Recipient’s sole cost and
expense.

Section 9.2 Interpretation.
(a) Whenever the words “include,” “includes” or “including” are used
in this Agreement they shall be deemed to be followed by the words “without limitation.”

(b) Words denoting any gender shall include all genders. Where a word
or phrase is defined herein, each of its other grammatical forms shall have a corresponding
meaning.

(c) A reference to any party to this Agreement or any other agreement
or document shall include such party’s successors and permitted assigns.

(d) A reference to any legislation or to any provision of any legislation
shall include any modification or re enactment thereof, any legislative provision substituted
therefor and all regulations and statutory instruments issued thereunder or pursuant thereto.

(e) All references to “$” and dollar shall be deemed to refer to United
States currency unless otherwise specifically provided.

Section 9.3 Preparation of this Agreement. The Service Recipient and the
Service Provider hereby acknowledge that (a) the Service Recipient and the Service Provider
jointly and equally participated in the drafting of this Agreement, (b) the Service Recipient and the
Service Provider have been adequately represented and advised by legal counsel with respect to
this Agreement and the transactions contemplated hereby, and (c) no presumption shall be made
that any provision of this Agreement shall be construed against either party by reason of such role
in the drafting of this Agreement and any other agreement contemplated hereby,

Section 9.4 Relationships of the Parties. The parties hereto are and shall
remain independent contractors and not employees or agents of each other. Except as expressly
granted by the other party in writing, neither the Service Recipient nor the Service Provider shall
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have any authority, express or implied, to act as an agent of the other parties or their subsidiaries
or affiliates under this Agreement. It is not the intent of the parties hereto to create, nor should this
Agreement be construed to create, a partnership, joint venture or employment relationship among
or between the parties (including their respective officers, employees, agents or representatives).

Section 9.5 Entire Agreement, No Third Party Beneficiaries. This
Agreement, along with the Share Purchase Agreement and the Non-Competition Agreement (a)

constitute the entire agreement and supersede all prior agreements and understandings, both
written and oral, among the Parties with respect to the subject matter hereof and thereof and (b)
are not intended to confer, and shall not confer, upon any Person other than the parties hereto and
thereto any remedies, claims of liability or reimbursement, causes of action or any other rights
whatsoever, except those rights conferred on the Service Provider Indemnified Parties pursuant to
Section 5.1.

Section 9.6 Governing Law. The application and effect of this Agreement
and all matters arising from it shall be governed by and construed in accordance with the laws of
the State of Florida.

Section 9.7 Jurisdiction. Each of the parties hereto (a) consents to submit
itself to the personal jurisdiction of any federal court located in the State of Florida or any Florida
state court in the event any dispute arises out of this Agreement; (b) agrees that it shall not attempt
to deny or defeat such personal jurisdiction by motion or other request for leave from any court;
and (c) agrees that it shall not bring any action or proceeding relating to this Agreement in any
court other than a federal or state court sitting in the State of Florida. Each party further agrees that
service of any process, summons, notice or document by registered or certified mail to such
party’s address for the giving of notice as set forth in Section 9.9 shall be effective service of
process for any action, suit or proceeding with respect to any matters to which it has submitted to
jurisdiction as set forth above. Each party also agrees that a final judgment (after all appeals, if
any) against it in any action or proceeding relating to this Agreement brought in federal court
located in the State of Florida or any Florida state court shall be conclusive and binding upon it as
to the subject of such final judgment and may be enforced in any other jurisdiction.

Section 9.8 Dispute Resolution; Escalation Procedure. The parties shall
attempt in good faith to resolve any dispute, controversy or claim arising out of, in connection
with, or relating to this Agreement (each, a “Dispute”) in accordance with the following
procedure: Upon the written request of either party, an employee of each party responsible for the
day to day management of the Services under this Agreement shall meet within fifteen (15) days
of receipt by the other party of the written request and attempt in good faith to resolve any
Dispute. If such Dispute is not resolved by discussions between such employees within fifteen
(15) days after the parties meet in response to a party’s written request, then either party may
request that the Dispute be further escalated to the chief executive officer or the chief operating
officer (or a designee of such person) of each party who shall meet to resolve the Dispute.
Promptly after receipt of such request, the chief executive officer or the chief operating officer (or
a designee of such person) of each party shall meet to resolve the Dispute. In the event that a
Dispute is not resolved by the parties, then such dispute shall be submitted to the Bankruptcy
Court for resolution.

Section 9.9 Notices, Any notice or other communication pursuant to, or in
connection with, this Agreement shall be in writing and delivered personally, or sent by reputable
overnight courier service or by facsimile or other form of electronic transmission to the parties at
the addresses or the numbers set out below (or to such other address as may from time to time
have been notified in writing to the other Parties in accordance with this Section 9.9)

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If to the Service Recipient, to:

BSL Holdings Limited.
Fidelity House,

51 Frederick Street,
Nassau, Bahamas

Tel. No. 1-242-356 7764
Fax No. 1-242-326-3000

BSL Supermarkets Limited
[address]

Tel. No.

Fax No.

With concurrent copies, which shall not constitute notice, to:

Counsel to the Purchaser
Davis & Co

Del Bern House

11 Victoria Avenue

P.O. Box N-7940

Nassau, Bahamas

Tel. No. 1-242-322-2715
Fax No. 1-242-326-7360
Attention: Philip B. Davis

If to the Service Provider, to:

Winn Dixie Stores, Inc.

5050 Edgewood Court
Jacksonville, Florida 32254-3699
Attn: Office of General Counsel
Telecopy: (904) 783-3651

With concurrent copies, which shall not constitute notice, to:

Skadden, Arps, Slate, Meagher & Flom LLP
1440 New York Avenue, N.W,

Washington, D.C. 20005

Attn: Ronald C. Barusch

Telecopy: (202) 393-5760

Any notice or other communication shall be deemed to have been served:

(a) if delivered personally, when left at the address referred to in this
Section 9.9;

(b) when sent by reputable overnight courier service;
(c) if sent by facsimile or other form of electronic transmission, at the

time of transmission (provided that to be effective such transmission must be followed up within
one (1) Business Day by reputable overnight courier service).

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If a notice is given or deemed given at a time or on a date which is not a Business Day, it shall be
deemed to have been given on the next Business Day.

Section 9.10 Descriptive Headings. The headings of the Sections herein are
inserted for convenience of reference only and are not intended to be a part of, or to affect the
meaning or interpretation of, this Agreement.

Section 9.11 Extension, Waiver. A party hereto may (a) extend the time for
the performance of any of the obligations or other acts of the other party hereto; (b) waive any
inaccuracies in the representations and warranties contained herein or in any document delivered
pursuant hereto; and (c) waive compliance with any of the agreements or conditions contained
herein, to the extent permitted by applicable law. Any agreement on the part of a party hereto to
any such extension or waiver shall be valid only if set forth in an instrument in writing signed on
behalf of such party. The failure of any party to this Agreement to assert any of its rights under
this Agreement or otherwise shall not constitute a waiver of such rights.

Section 9,12 Amendment and Modification. This Agreement may be
amended, modified and supplemented in any and all respects, but only by a written instrument
signed by each of the parties hereto expressly stating that such instrument is intended to amend,
modify or supplement this Agreement.

Section 9.13 Assignment and Sub-Contracting.

(a) Neither this Agreement nor any of the rights, interests or obligations
hereunder shall be assigned by either party hereto (whether by operation of law or otherwise)
without the prior written consent of the other party, provided that Service Provider may assign this
Agreement or any of the rights, interests or obligations hereunder in connection with a sale of all
or substantially all of its business.

(b) The Service Provider is free to sub-contract the Services to third
parties, provided that the Service Provider remains liable for performance of the Services in
accordance with this Agreement, including the Service Standards set forth in Section 2.2. The
Service Recipient is prohibited from sub-contracting its obligations under this Agreement without
the prior written consent of the Service Provider.

Section 9.14 Severability. Any term or provision of this Agreement that is
held by a court of competent jurisdiction or other authority to be invalid, void or unenforceable in
any situation in any jurisdiction shall not affect the validity or enforceability of the remaining
terms and provisions hereof or the validity or enforceability of the offending term or provision in
any other situation or in any other jurisdiction. If the final judgment of a court of competent
jurisdiction or other authority declares that any term or provision hereof is invalid, void or
unenforceable, the parties agree that the court making such determination shall have the power to
reduce the scope, duration, area or applicability of the term or provision, to delete specific words
or phrases, or to replace any invalid, void or unenforceable term or provision with a term or
provision that is valid and enforceable and that comes closest to expressing the intention of the
invalid or unenforceable term or provision.

Section 9.15 Counterparts; Effect, This Agreement may be executed and
delivered (including via facsimile) in one or more counterparts, each of which shall be deemed to
be an original, but all of which shall constitute one and the same agreement.

Section 9.16 Costs and Expenses. Except as expressly set forth in this
Agreement, all costs and expenses incurred by or on behalf of the parties to this Agreement
including all fees of representatives, solicitors, counsel and accountants employed by any of the
Parties in connection with the negotiation, preparation and execution of this Agreement shall be

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borne solely by the party who shall have incurred the same and the other party shall have no
liability in respect of such costs and expenses. Notwithstanding the foregoing, in any action or
proceeding brought to enforce any provisions of this Agreement, or where any provision hereof is
validly asserted as a defense, the successful party in such action or proceeding shall be entitled to
recover reasonable attorneys’ fees and disbursements.

Section 9.17 Survival. The provisions of Articles V, VI, VIII and IX, and
Sections 7.1 and 7.2 and the obligation to pay any Fees accrued prior to termination shall survive
the termination of this Agreement.

IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
duly executed by their respective authorized officers on the day and year first above written.

Winn-Dixie Stores, Inc.

By:

Title:

BSL Holdings Limited

By:

Title:

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SCHEDULE A

Services

The following IT support services will be provided to Service Recipient.

Business
Function

Service

Description of Services

Systems

Store Ordering

Store ordering for Warehouse product only. Support of
Polling application and division RS600, KE3, and
Bahamas VSE systems

Systems

Merchandising —
Tags and Signs

Support of the Shelf Tag system and supporting
subsystems referred to as Price analysis and the
Perpetual Inventory (PIF) system which create the
Bahamas Store Average file.

Systems

Warehouse
Replenishment

Support and maintenance of the OMI Biceps system (for
GMD) running on MVS. Support and maintenance for
buying Activities utilizing the Chainstore application
running on the Miami VSE. This includes support of the
KE3 System

Systems

Billing

Support and maintenance of the OMI ABS and Legacy
Billing systems to cover inventory updates and Store
Order Information. *Note - Billing information is passed
to Accounts Payable for payment. An interface will need
to be built to pass billing information from these systems
to Service Recipient's Payables system. Building a new
interface would be considered an additional service
subject to Section 2.1(b).

Systems

Warehousing

Support and Maintenance of the KE3 system for the
Nassau DC.

Systems

Payroll and Time
Reporting

HRp5 will not be supported by Service Provider. The
vendor will provide primary support. Service Provider will
provide support and maintenance for the Workbrain and
CMI software for Time and Attendance. Should a clock
need to be serviced, such service will be provided
pursuant to a separate maintenance agreement in place
with the vendor.

Systems

Import Register

Maintenance and support for the online system running
on the Bahamas VSE machine.

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Business | Service Description of Services

Function

Systems | Store Maintenance and support of the application.

Source
Systems j| Store Maintenance and support of the Bahamas Host Store transfer
Transfers | application that allows the manual input of transfer information.
*Note — The ROI application is not utilized in the Bahamas and
will not be configured for Service Recipient's use.

Systems | Gross Maintenance and support of the existing A23BY program.

Profits *Note — No change requests will be considered for this
program.

Systems | Financials | Service Provider will maintain its existing PeopleSoft 7.53
installation and provide the same reporting support that in place
as of Closing. *Note — Changing or building interfaces to
Service Provider's financials or other systems would be
considered additional services subject to Section 2.1(b).

Systems | Network Network Support, which includes only the following:

1) If the Business has a problem with its
communications lines, either to the stores or to the
office, Service Provider will work with the vendor, Cable
Bahamas, to resolve to the problem.

2) lf the Business has a problem with a router, Service
Provider will provide it with a spare as follows: If a store
or office has a failure, Service Provider will configure
the router remotely and work with Service Recipient to
swap out the equipment. Service Provider will then
send Service Recipient a new spare router. Service
Recipient will send Service Provider the damaged
router and Service Provider will have it repaired.

3) Ethernet switches for the Business will be handled
the same way as the routers. If a store or office has a
failure, Service Provider will configure the device
remotely, work with the Business to swap out the
switch and send a replacement spare. Service
Recipient will have the damaged unit sent back to
Service Provider for repair.

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Business | Service Description of Services
Function
Systems 4) Switch firmware upgrades (i.e., loading new firmware

and configurations) will be performed
by Service Provider on-site at Service Recipient's
locations in the Bahamas.

5) Router upgrades (i.e., loading new firmware
and configurations) will be performed by
Service Provider on-site at Service Recipient's
locations in the Bahamas.

6) Service Provider will provide support for the
UPS units that supply power to the network

gear.
Systems | Backup Mainframe/VSE disaster recovery is part of Service Provider's
and overall corporate process, and includes backup and recovery

Recovery | of the VSE machines and data. Non Mainframe Networked
data is passed through the VPN and backed up at corporate
for recovery, Hardware housed in the corporate data center is
covered in the corporate recovery plans.

The following logistic support services will be provided to the Service Recipient.

Business Service Description of Services

Function

Warehousing | Process and Route store/warehouse orders, select product, audit
select load containers and prepare paperwork for export.
store/warehouse
orders

Warehousing | Milk/Water crates | Ship product in plastic crates that must be returned
to the main land. Service Recipient will be charged
separately for lost crates.

Warehousing | GM/HBA product Receive orders of General Merchandise and
Health/Beauty Aides at the Miami DC for loading
and documentation completion

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Business Service Description of Services

Function

Warehousing | Ship outside Receive, sort, verify and obtain invoices for products
vendors product from the following outside vendors that ship products
to Nassau through Miami to the Bahamas:

Shoe Shack

GFI gourmet Foods

United Natural Foods

Hobart Corp.

The Stellar Group (Generator Muffler)
Tree of Life Foods

Spice World

EHS Corp. (Floor Mats)

Gourmet Awards

McArthur Milk

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SCHEDULE B

Additional Services

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EXHIBIT C
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NON-COMPETITION AGREEMENT

THIS NON-COMPETITION AGREEMENT, dated as of May, 2006 (this
“Agreement’), is entered into by and between Winn-Dixie Stores, Inc. (“Winn-
Dixie”), a Florida corporation, and BSL Holdings Limited (“BSL Holdings”), a
company incorporated and existing under the laws of the Commonwealth of The
Bahamas with its registered office at Fidelity House, 51 Frederick Street, in the
Island of New Providence in the said Commonwealth of The Bahamas.

WITNESSETH:

WHEREAS, BSL. Holdings and W-D (Bahamas) Ltd., a company incorporated and
existing under the laws of the Commonwealth of The Bahamas, have entered into
that certain Share Purchase Agreement, dated as of May _ , 2006 (the “Share
Purchase Agreement”), pursuant to which Seller has agreed to sell to BSI. Holdings,
and BSI. Holdings has agreed to purchase from the Seiler, certain shares (the
“Shares”’) in the capital of Bahamas Supermarkets Limited; and

WHEREAS, the Share Purchase Agreement contemplates that, as an inducement to
BSL Holdings to enter into the Share Purchase Agreement, Winn-Dixie will enter
into this Agreement.

NOW, THEREFORE, in consideration of the transactions contemplated by the Share
Purchase Agreement and the covenants contained herein, the parties hereto,
intending to be legally bound hereby, agree as follows:

1. Definitions

Capitalized terms used but not defined in this Agreement shall have the
meanings ascribed to such terms in the Share Purchase Agreement.

2. Non-competition

From the Closing Date until the second anniversary of the Closing Date,
Winn-Dixie shall not directly or indirectly undertake to carry on or be
engaged, concerned or interested either alone or in partnership with or as
manager, agent or servant of any other person, firm or company or otherwise
in the retail sale of groceries, meat, produce and delicatessen products in the
Commonwealth of The Bahamas; provided, however, that nothing herein
shall be construed as prohibiting W-D (Bahamas) Ltd. from continuing its
existence as a company incorporated and existing under the laws of the
Commonwealth of The Bahamas.

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3. Entire Agreement

This Agreement, along with the Share Purchase Agrecment and Transition
Services Agreement, constitutes the entire agreement among the parties
hereto with respect to the subject matter addressed herein, and there are no
understandings (written or oral) or agreements, conditions or qualifications
relative to this Agreement that are not fully reflected in this Agreement.

4. Governing Law; Jurisdiction

The application and effect of this Agreement and all matters arising from it
shall be governed by and construed in accordance with the laws of the State
of Florida.

5. Jurisdiction

Each of the parties hereto (a) consents to submit itself to the personal
jurisdiction of any federal court located in the State of Florida or any Florida
state court in the event any dispute arises out of this Agreement; (b) agrees
that it shall not attempt to deny or defeat such personal jurisdiction by motion
or other request for leave from any court; and (c) agrees that it shall not bring
any action or proceeding relating to this Agreement in any court other than a
federal or state court sitting in the State of Florida. Each party further agrees
that service of any process, summons, notice or document by registered or
certified mail to such party’s address for the giving of notice as set forth in
Section 6 hereof shall be effective service of process for any action, suit or
proceeding relating to this Agreement with respect to any matters to which it
has submitted to jurisdiction as set forth above. Each party also agrees that a
final judgment (after all appeals, if any) against it in any action or procecding
relating to this Agreement brought in federal court located in the State of
Florida or any Florida state court shal] be conclusive and binding upon it as
to the subject of such final judgment and may be enforced in any other
jurisdiction.

6. Notices

Any notice or other communication pursuant to, or in connection with, this
Agreement shall be in writing and delivered personally, or sent by reputable
overnight courier service or by facsimile or other form of electronic
transmission to (or to such other address as may from time to time have been
notified in writing) such party in accordance with this Section 6,

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If to BSL Holdings, to:

BSL Holdings Limited.

Fidelity House,

51 Frederick Street,

P.O. Box N- 4853

Nassau, Bahamas

Tel. No. 1-242-356-7764

Fax No. 1-242-326-3000

e-mail: michacl.anderson@fidelitybahamas.com

With concurrent copies, which shall not constitute notice, to:

Davis & Co

Del Bern House

11 Victoria Avenue

P.O. Box N-7940
Nassau, Bahamas

Tel. No. 1-242-322-2715
Fax No. 1-242-326-7360
Attention: Philip B. Davis

If to Winn-Dixie, to:

Winn Dixie Stores, Inc.

5050 Edgewood Court

Jacksonville, Florida 32254-3699
Attn: Office of General Counsel
Telecopy: (904) 783-5651

e-mail: LarryAppel@winn-dixie.com

With concurrent copies, which shall not constitute notice, to:

Skadden, Arps, Slate, Meagher & Flom LLP
1440 New York Avenue, N.W.

Washington, D.C, 20005

Attn: Ronald C. Barusch

Telecopy: (202) 393-5760

e-mail: RBarusch@skadden.com

Any notice or other communication shall be deemed to have been served:
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(a) if delivered personally, when left at the address referred to
in this Section 6;

(b) when sent by reputable overnight courier service, two (2)
clear days after sending it;

(c) if sent by facsimile or other form of electronic
transmission (including e-mail), at the time of transmission
(provided that to be effective such transmission must be
followed up within one (1) Business Day by reputable
overnight courier service).

If a notice is given or deemed given at a time or on a date which is not a
Business Day, it shall be deemed to have been given on the next Business
Day.

7. Descriptive Headings

The headings of the Sections herein are inserted for convenience of reference
only and are not intended to be a part of, or to affect the meaning or
interpretation of, this Agreement.

8. Amendment and Modification

This Agreement may be amended, modified and supplemented in any and all
respects, but only by a written instrument signed by each of the parties hereto
expressly stating that such instrument is intended to amend, modify or
supplement this Agreement.

9. Termination

This Agreement shall terminate and be of no further force and effect upon the
second anniversary of the Closing Date.

10. Severability

Any term or provision of this Agreement that is held by a court of competent
jurisdiction or other authority to be invalid, void or unenforceable in any
situation in any jurisdiction shall not affect the validity or enforceability of
the remaining terms and provisions hereof or the validity or enforceability of
the offending term or provision in any other situation or in any other
jurisdiction. If the final judgment of a court of competent jurisdiction or
other authority declares that any term or provision hereof is invalid, void or
unenforceable, the parties agree that the court making such determination
shall have the power to reduce the scope, duration, area or applicability of the

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ll.

12.

13.

term or provision, to delete specific words or phrases, or to replace any
invalid, void or unenforceable term or provision with a term or provision that
is valid and enforceable and that comes closest to expressing the intention of
the invalid or unenforceable term or provision.

Counterparts: Effect

This Agreement may be executed and delivered (including via facsimile) in
one or more counterparts, each of which shall be deemed to be an original,
but all of which shall constitute one and the same agreement,

Specific Performance

The parties hereto agree that irreparable damage would occur if any provision
of this Agreement were not performed in accordance with the terms hereof
and that the partics shall be entitled to an injunction or injunctions to prevent
breaches of this Agreement or to enforce specifically the performance of the
terms and provisions hereof in any federal court located in the State of
Florida or any Florida state court, in addition to any other remedy to which
they are entitled at law or in equity.

Costs and Expenses.

Except as expressly set forth in this Agreement, all costs and expenses
incurred by or on behalf of the parties to this Agreement including all fees of
representatives, solicitors, counsel and accountants employed by any of the
parties hereto in connection with the negotiation, preparation and execution
of this Agreement shall be borne solely by the party who shall have incurred
the same and the other party shall have no liability in respect of such costs
and expenses. Notwithstanding the foregoing, in any action or proceeding
brought to enforce any provisions of this Agrecment, or where any provision
hereof is validly asserted as a defense, the successful party in such action or
proceeding shall be entitled to recover reasonable attorneys’ fees and
disbursements.
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IN WITNESS WHEREOF, the parties hereto have caused this
Agreement to be duly executed by their respective authorized officers on the day and
year first above written.

WINN-DIXIE STORES, INC.

By:

Name:
Title:

BSL HOLDINGS LIMITED.

